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                                 UNITED STATES DISTRICT COURT
                                 FOR THE DISTRICT OF COLUMBIA

                                             )
BENJAMIN BECKER,                             )
     et al.,                                 )
                                             )
               Plaintiffs,                   )       Civ. Action No. Ol-CV-00811 (PLF)(JMF)
                                             )
       v.                                    )
                                             )
DISTRICT OF COLUMBIA,                        )
      et al.,                                )
                                             )
               Defendants.                   )
------------------------)
   SETTLEMENT AGREEMENT BETWEEN DEFENDANTS DISTRICT OF COLUMBIA,
   FORMER CHIEF CHARLES H. RAMSEY, FORMER ASSISTANT EXECUTIVE CHIEF
            TERRANCE W. GAINER AND THE PLAINTIFFS, INCLUDING
THE CLASS REPRESENTATIVES ON BEHALF OF THE CLASS AND CERTAIN INDIVIDUAL.
           PLAINTIFFS WHO ADVANCE NON-CLASS RELATED CLAIMS


       Class representatives Benjamin Becker, Brian Becker, Heather A. Chaplin, Carl Dillinger, Marsha

Kay Dillinger, Ann Flener, Julie Fry, Isaac Henry Gitlen, Lawrence Holmes, James Erich Kellc::r, Mitra

Mohammadi, Patricia Doyle Mohammadi, Monica Moorehead and Sarah Sloan and the individual plaintiffs

(individuals whose claims are unconnected to the mass arrest of the class and arise out of incid~mts at

different dates and/or locations than the mass airest) Elizabeth T. Butler, Adam Eidinger, Robert Fish,

Kimberly Grier, Brian Edwards-Tiekert, Sasha Keller Wright, Seeds of Peace, Inc., and CharleB R. Sippel

have sued defendants District of Columbia, Charles H. Ramsey and Terrance W. Gainer (collec:tively the

"Defendants"), in this matter, Becker. et al. v. District of Columbia. et aI., Ol-CV-00811 (PLF)(JMF),

asserting claims of constitutional violations pursuant to 42 U.S.C. § 1983, common law tort and personal

injury claims, and seeking damages, declaratory and injunctive relief and attorneys fees and costs.




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                                                           ..
       In reliance upon the representations contained herein, and in consideration of the mutus1 promises,

covenants and obligations in this Agreement, and for good and valuable consideration, plaintiffs and

defendants, through their undersigned counsel, agree and stipulate as follows:

       1. Definitions and General Provisions

           A. Definitions

               1.     "Class" - All persons who were detained and arrested on April 15, 2000 near the area

               of 20th Street, N.W. and I and K Streets in connection with the protest against the Prison

               Industrial Complex during the IMFIWorld Bank demonstrations. The class was certified by

               Judge Paul L. Friedman on October 13, 2006 (Dkt. No. 250).

               2.     "Class Administrator" or "Administrator" - A firm to be chosen by agr<:ement of the

               Class Representatives on behalf of the Class and the District defendants, or appointment of

               the court if they cannot agree, to administer the claims process. Any firm so chc,sen must

               specialize in such work.

               3.     "Class Counsel" or "Plaintiffs' Counsel" - The counsel of record for the Plaintiffs

               and the Class. They are the Partnership for Civil Justice Fund, Carl Messineo and Mara

              Verheyden-Hilliard.

              4.      "Class Members"        All persons within or encompassed by the definition of the Class.

              5.      "Class Representatives" - Those Class Representatives identified in the Amended

              Complaint for Declaratory and Injunctive Relief and Damages, filed on or about April 10,

              2003, with the exception of Steven R. Olson, deceased.

              6.      "Claimant(s)" - Class members who actually file claims pursuant to the procc~dures

              set forth in this Agreement.




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   7.     "Class Settlement Fund" - Sum to be paid by the Defendant District of Columbia

   totaling $13,302,500, subject to reversion, which will be funded and/or distribut;;:d as further

   described in this Agreement. The Class Settlement Funds are for the resolution (If the class

   claims and are separate and apart from the funds to settle the claims of Individual Plaintiffs

   who have advanced non-class claims on their own behalf. The settlement of claims of the

   non-class Individual Plaintiffs are funded separately and additionally and without use of

   Class Settlement Funds, as discussed further in Section II(B), below. The Class Settlement

   Fund is comprised of four components: Class Representatives' Funds, ~laimant,' Funds,

   Attorneys Fees and Costs Funds, and Notification and Administration Funds.
                                                                                                      .~

          a)      "Class Representatives' Funds" - That portion of the Class Setth;:ment Fund

          awarded and distributed to each of the 14 Class Representatives on an e~lua1 basis.

          The total amount of these funds shall be $700,000.

          b)      "Claimants' Funds" - That portion of the Class Settlement Fund to be

          awarded and distributed to Class Members. The total amount of these funds shall be

          $9,180,000 subject to allocation, distribution and potential reversion as described

          further below.

          c)      "Attorneys Fees and Costs Funds" - That portion of the Class Settlement

          Fund awarded as attorneys' fees and costs to Class Counsel. The total amount of

          these funds shall be $3,272,500.

          d)      "Notification and Administration Funds" - That portion of the Class

          Settlement Fund to be used to compensate the Class Administrator and any third

          parties who may provide related services, to provide Class Members notification of

          the Settlement, to advertise or communicate notice, and to administer thl~ Settlement


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           Agreement and distribution of funds. The amount of these funds is allocnted at

           $150,000, as detailed further in Section II(A)(4) herein.

   8.     "District Defendants" - The District of Columbia, Charles H. Ramsey in both official

   and individual capacities, and Terrance W. Gainer in both official and individual capacities.

   9.     "Non-District of Columbia Defendants" - Any remaining defendants who are not

   District Defendants.

   10.    "Department" or "MPD". The District of Columbia Metropolitan Police,

   Department.

   11.    "Fairness Hearing" - The final hearing on the fairness of this Settlement Agreement,

   at which the Court will determine whether to grant Final District Court Approval. At the time

   of the execution of this Settleme~t Agreement, the parties have requested the fairness hearing

   to be scheduled to occur on June 30, 2010, subject to the Court's calendar and subject to

   rescheduling if necessary or appropriate.

   12.    "Final District Court Approval" -- The Order, following submission of this Settlement

   Agreement to the Court, by which the District Court grants final approval of the Settlement

   Agreement.

   13.    "Individual Plaintiffs" - The individually named plaintiffs who are not Class

   Representatives. The claims of the Individual Plaintiffs are advanced by each Individual

   Plaintiff on his or her own behalf and not in any class representative capacity. ll1eir claims

   are unconnected to the mass arrest of the class and arise out of incidents at different dates

   and/or locations than the mass arrest. The Individual Plaintiffs are Elizabeth T. Butler, Adam

   Eidinger, Robert Fish, Kimberly Grier, Brian Edwards-Tiekert, Sasha Keller Wright, Seeds

   of Peace, Inc., and Charles R. Sippel.


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               14.        "Parties" or "the Parties" - All parties to this Settlement Agreement, to illclud€, all

              Plaintiffs and all District of Columbia Defendants.

               15.        "Plaintiffs" - Where the term "Plaintiffs" is used it refers to all Class Representatives,

              all class members who have not opted-out, and all Individual Plaintiffs.

               16.        "Preliminary District Court Approval" - The Order, following submission of this

              Settlement Agreement to the Court, by which the District Court grants initial and preliminary

              approval of the Settlement Agreement.


       II. Monetary Relief

           A. Monetary Settlement for the Class. Class Representatives. Attorney's fees aIld
              Administration of the Class Fund

       The class-wide monetary settlement is a total of$13,302,500, subject to reversion, which includes,

the Class Representative Funds, the Claimants' Funds, the Attorney Fees and Costs Funds and the

Notification and Administration Funds. The fund is broken down as follows:

              1. The 14 Class Representatives shall collectively receive a total of$700,OOO ($50,000 per

                     named Class Representative).

              2. Each member of the class (680 class members) shall receive compensation from the

                     Claimants' Fund of$9,180,000 (subject to allocation, distribution and possible reversion

                     of funds to the District), if a timely notice of claim and submission of proof of

                     entitlement is submitted to and approved by the fund administrator in the following

                     manner.

                     1.   Should the participation rate be higher than 75% of eligible claimants (510

                          participating claimants}, each claimant shall be allocated and awarded a pro-rata share




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          of Claimants' Funds. This will result in a payment to each of some measllre less than

          $18,000.

      ii. Should the participation rate be equal to or lower than 75% of eligible claimants (510

          participating claimants), each claimant shall be allocated and awarded a pro rata share

          of Claimants' Fund, subject to a maximum of $18,000. Under nearly all

          circumstances, this will result in a payment to each of $18,000. The Disttict shall

          receive reversion of unallocated Claimant Funds.

   3. The Claimants' Fund of $9, 180,000 is the ceiling on the District's payments to the class

      claimants.

  4. The cost of administrating the funds and determining or adjudicating submitted claims is

      allocated to be $150,000. In the event that actual costs for Notification and

      Administration, including costs associated with determining class eligibility of any

      claimants whose identities and arrests are not reflected in law enforcement or gov.emment

      records, exceed the $150,000' allocation, the excess costs will be shared and paid for by

      the Claimants and the District of Columbia equally, on a 50-50% basis. The payments for

      such excess expenditures, if any, on behalf of Claimants shall be paid from \-"ithin

      Claimants' Funds. Such payments on behalf of the District may be paid from reversion

      funds, or from the Settlement and Judgment fund, as may be determined by the District.

  5. The attorney's fees and cost allocation is $3,272,500.

  6. With respect to monetary relief, the notice and claim process shall provide individual

      class members with an opportunity to request exclusion, or to "opt out," from the

      Settlement Agreement. Opts quts on the monetary relief are allowed as may be approved

      by the court.


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            B. Monetary Awards for the Individual Plaintiffs (Non-Class Representatives}

               The Individual Non~Class Member Plaintiffs shall collectively receive a total of$425,000 as

               compensation. This amount is separate from, and in addition to, payments for the benefit of

               class members as reflected in the Class Settlement Funds.

           C. Timing of Deposits by the Districtl

                1. D.C. Ds:posits Monies for Class-Wide Monetary Remedies (Class Rs:presentatives'
                   Funds. Claimants' Funds. Natification and Administration Funds) and for All Attorney's
                   Fees and Costs

        The District of Columbia shall deposit funds into an escrow account to be administered by the Class

Administrator in accordance with the timing and schedule set forth herein. The deposit of funds into the

escrow account is distinct from the actual disbursement of funds from the escrow account to rel::ipients.

        1st Deposit: Within 45 days of the PreliIDinary District Court Approval, the District of Columbia

will deposit the $150,000 constituting the Notification and Administration Funds.

        2nd Deposit: Within 45 days of Final District Court Approval, or by September 30, 2010 ifthere is

no final approval of the settlement, which ever comes first, the District will deposit the Class

Representatives' Funds ($700,000), and 60% of the remaining Class Settlement Funds (including 60% of

the amount allocated for attorney's fees and costs).

        3rd Deposit. After Final District Court Approval, the District will deposit the remainder of the

Claimant Fund and Attorneys Fees and Costs Funds (the balance left after the 1st and 2nd payments minus

any reversion of Claimant Funds to the District),by September 1,2011.

               2. Payments for the Individual Plaintiffs (Non-Class Representatives)

       The settlements with the Individual Plaintiffs who are not Class Representatives shall be: disnibuted

within 45 days offinal approval of the settlement (or at the election of the District prior to the final approval



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upon receipt of a satisfactory full release and signed W9 fonn). These funds shall be made payable to the

Partnership for Civil Justice Fund Trust Account.

              D. Timing of Distribution of Funds to Class Representatives, Fund Administrator.
                 Claimants and Payment of Fees and Costs

                 1. Upon Preliminary District Court Approval of the settlement, and upon deposit by the

                    District, the $150,000 for Notification and Administration Funds shall be made available

                    to the Class Administrator.

                 2. Plaintiffs and the Class Administrator shall petition the Court for authority to release

                    funds to the Class Representatives, Claimants and Class Counsel.

                 3. However, no funds may be distributed to the Class Representatives, Class

                    Members/Claimants or Class Counsel (attorney's fees and costs) without both Final

                    District Court Approval of the settlement and the exhaustion ofall appeals and any period

                    of time in which an objector or challenger may seek review by way of a Writ of

                    Certiorari to the U.S. Supreme Court.

                 4. In the event the settlement is not upheld on appeal or is reversed upon review by the U.S.

                    Supreme Court, all funds (with interest) minus the spent administrative costs ,shall be

                    returned to the District

       III.   Class~Wide   Prospective Relief

              A. Changes to MPD Demonstration Policies and Practices

                 1. Commencing not later than 120 days following the Court's final approval of sl;rttlement of

                    this matter upon these terms, each District of Columbia Metropolitan Police Depar1ment

                    (tlMPD") officer will be required to take training on the Standard Operating Procedures




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      for Handling First Amendment Assemblies and Mass Demonstrations. The training

      records for this course will be preserved for a minimum of three (3) years.

   2. Commencing not later than 120 days following the Court's final approval of settlement of

      this matter upon these terms, the MPD shall refer each police officer currently assigned,

      or assigned in the future, to responsibilities encompassing or related to the hlwdling of

      First Amendment "mass demonstration" activities to the provisions of the First

      Amendment Rights and Police Standards Act of 2004, D. C. Official Code §§ 5-331.01,

      et seq. and th~ implementing rules that are posted on MPD's intranet site

  3. Commencing not later than 120 days following the Court's final approval of :settlement of

      this matter upon these terms, the MPD shall, through the MPD's website, make available

      to all persons inquiring regarding demonstration permits or related activities a copy of the

      statute and the rules implementing the statute and any forms governing First Amendment

      assembly plans.

  4. In all situations in which, through mutual aid agreements or otherwise, the District of

      Columbia obtains the assistance of outside law enforcement agencies for demonstration

      related duties, the MPD shall brief outside agency commanders of the requinments of the
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      MPD's Standard Operating Procedures for Handling First Amendment Assemblies and

      Mass Demonstrations and shall assign an MPD officer to each such outside agency unit.

  5. The District of Columbia, through the Office of Attorney General, shall engage in

      conununications with and respond to reasonable inquiries from class counsel, as to the

     . status and/or completion and/or satisfaction of the obligations set forth in the subsection

      immediately preceding, "Changes to MPD Demonstration Policies and Practices."




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   6. The District of Columbia shall provide plaintiffs' counsel with a report that reflects the

      measures taken by the MPD-to perform the requirements of paragraphs 1 tluough 5

       above.

   7. The District agrees to perfonn the requirements of paragraphs 1 through 5 above, for a

      period of no less than three years from the date ofthe last of the following events: Final

      District Court Approval; disposition of all appeals; denial of any appeal or petitions for

      writ of certiorari to the Supreme Court of the United States. The Plaintiffs do not have a

      right of enforcement more than three years from the aforementioned date.

   8. Plaintiffs, through counsel, shall file a dismissal with prejudice at the end of the three

      year period measured from the date of the last of the following events: Final District

      Court Approval; disposition of all appeals; denial of any appeal or petitions for writ of

      certiorari to the Supreme Court of the United States.

B. Expungement and Annulment of Arrests

   1. The District of Columbia shall begin the process of expungement of the Becker Class

      Representatives' arrest records and for those of the absent Class Members relating to the

      April 15, 2000 arrest within 45 days after the last of the following events: Final District

      Court Approval; disposition of all appeals; denial of any appeal or petitions for Wlit of

      certiorari to the Supreme Court of the United States.

   2. The District of Columbia shall restrict access to the April 15, 2000 arrest records of the

      Becker Class Representatives and class members to the arrestees, their counsel, and

      counsel for any party in this case. This access should be limited to that reasonably needed

      for the prosecution or defense of the matters relating to the litigation of this case except in

      a case in which plaintiffs seek compensatory damages based on the emotional distress


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      arising from any subsequent arrest for which the arrest in this case is relevant to 1he

      emotional distress claimed from the subsequent arrest.

   3. The District of Columbia shall consent to the entry of the following order: "The April 15,

      2000 arrests of the Becker class representatives and class members are hereby declared

      null and void. In accordance with D.C. Code §16-802(i) each of the aforem(:ntioned is

      authorized to deny the occurrence of his or her arrest that day, without being subject to

      any penalty of peIjury, fraud or other offense premised upon misrepresentati.on or

      deception in response to any inquiry, whether posed orally or in writing excc;,pt in a case

      in which plaintiffs seek compensatory damages based on the emotional distress arising

      from that subsequent arrest for which the arrest in this case is relevant to the emotional

      distress claimed from the subsequent arrest. These rights accrue to the full benefit of any

      absent Becker class member regardless of whether an individualized entry of a

      nullification order (see paragraph 4, below) is entered. This Court shall retain jurisdiction

      of this case for the purposes of enforcing the rights of the Becker Class Representatives

      and Class Members under this paragraph. It

   4. The District of Columbia consents to the entry of the following order described in this

      paragraph. The Class Administrator shall assist with the preparation and mailing of these

      orders. Counsel for the Becker Plaintiffs will file with the Clerk of the Court, under seal,

      paper copies of draft orders, one for each Becker Class Representative or Claimant,

      bearing the case caption and stating as follows:


                                 ORDER
                 The arrest of [insert name, date of birth, and social security number] 011 April
                 15, 2000, in the District of Columbia is hereby declared null and void.


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                 As provided in the Settlement Agreement of this case, [Mr. or Ms. ins€lrt last
                 name) is authorized to deny the occurrence of his or her arrest tha.t
                 day.without being subject to any penalty of perjury, fraud, or otht:r offense
                 premised upon misrepresentation or deception in response to any query,
                 whether posed orally or in writing.
                 In accordance with the law of the District of Columbia, see D.C. Code § 16-
                 802, the effect of'this relief"shall be to restore [Mr. or Ms. insert last name),
                 in the contemplation of the law, to the status he or she occupied before being
                 arrested or charged. No person as to whom such relief has been granted shall
                 be held thereafter under any provision of law to be guilty of perjury or
                 otherwise giving a false statement by reason of failure to recite or
                 acknowledge his or her arrest, or charges, or trial in response to allY inquiry
                 made of him or her for any purpose."
                 So Ordered on thi,s _ day of_ , 201 O.
                 PAUL L. FRIEDMAN
                 United States District Judge
   5. The District of Columbia will request the expungement of the April 15,2000 arrest

      records of any Becker Class Representative or Class Member in the possession of the

      United States Government (il)cluding, but not limited to, the Federal Bureau of

      Investigation and the Department of Homeland Security), any state or local government

      (if known to the District of Columbia MPD) within thirty business days of the last of

      these events: entry of Final District Court Approval by this Court regarding all Plaintiffs'

      claims herein, disposition of all appeals; denial of any appeal or petitions for writ of

      certiorari to the Supreme Court of the United States.

   6. The District of Columbia is to inform the Becker Class Representatives Class: Members,

      through counsel, if they are unable to procure the expungement of the aforme:ntioned's

      arrest records maintained by the United States government and/or other state or loc~allaw

      enforcement agencies (if known to the District of Columbia) for any reason. If they are

      unable to procure such expungement, the District of Columbia is directed to describe, in

      writing, the agencies that maintain records, the types of records maintained, the reasons


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                                                initials, on behalf of District
                                                                    on behalf of plaintiffs
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          for the failure to expunge, and the steps taken by the District to have the records

          expunged.

       7. The Metropolitan Police Department (MPD) shaH, upon the commencement of its efforts

          to seek expungement of the records of the Becker Class Representatives and Class

          Members, provide the FBI and DHS with a list of class members whose amlSt records are

          to be expunged. Upon receipt of the list, the FBI and DHS will be requested to expunge

          from its records and databases all records pertaining to the arrest on April 15, 2000 of

          individuals identified by th~ MPD.

       8. To facilitate'the expungement process, plaintiffs shall provide the full name, date of birth

          and social security number, where available, for each person whose records are to be

          expunged. This information will not be retained or used by agencies tasked with

          expungement for any other purposes, unless already in their possession.

       9. Expungement of the arrest of Elizabeth Butler shall occur in the same manm~r as that for

          the class.

   C. No opts outs for the equitable relief are allowed.

IV. Notice to Class Members and Potential Claimants

   A. Notice shall be sent as soon as practical after Preliminary District Court Approval.

   B. The Class Administrator shall send a copy of the Notice to Class Members and the Proof of

       Claim Form to all Class Members who can be identified through reasonable effort.

   C. The Class Administrator shall send a copy of the Notice to Class Members and ~le Proof of

       Claim Form by first class mail to the last known address of each class member.

   D. The Class Administrator shall undertake reasonable efforts, including through public records

       searches and use of the United States Postal Service address forwarding database:, to



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     detennine the current address of Class Members who fail to respond to initial notice or

     whose initial notice by first class mail is returned to sender by the U.S. Postal Servicle. Under

     such circumstances, and where such Class Member's current address is discemnble, the Class

     Administrator shall additionally send a copy of the Notice to Class Members and the Proof of

     Claim Form by first class mail to the current address of such Class Member.

 E. A modified and shortened form of Class Notice shall be published by the Class Counsel

    and/or the Class Administrator ill the Washington Post and in the Washington City Raper.

    The notice shall be published in the Washington Post once a week for two consc3Cutive

    weeks, including at least once in a Sunday edition. The notice shall be published for two

    consecutive weekly editions of the Washington City Paper. The notice shall be published

    twice each in no less than three regional or national periodicals/media outlets to be selected

    by Class Counsel based on an expectation that the subject matter is either of general interest

    or corresponds to subject matter interests of the protestor or protest groups who" or whose

    constituents, participated in the demonstration that was subject to the April 15, :WOO mass

    arrest.

 F. The Class Administrator shall publish the full Notice on the Internet.

 O. During the Notice and Claim period, the Class Administrator shall provide periodic reports to

    Class Counsel as to the status and progress of the claim submission and administration

    process.

 H. The Class Counsel and/or Class Representatives shall also endeavor to publish or circ~ulate

    announcements or shortened notices on web sites or e-mail lists of their selection, in efforts

    to reach Class Members.




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   I.   During the Notice and Claim period, the District of Columbia shall publish a link to the

        Notice to Class Members and Proof of Claim Form on the front page of the Metropolitan

        Police Department's web site (www.mpdc.org) and on the front page of the District of

        Columbia Government's web site (www.dc.gov).

V. Deadlines for Submitting Claim Forms and to Request Exclusion or to Opt Out

   A. The Class Notice shall advise Class Members that they must file a claim form or request

        exclusion by a date certain, which date will be at approximately 90 days from the date the

        initial notices are sent out.

   B. The Class Notice shall advise that the court will exclude from the class, or allow to "opt out"

        from the class, any Class Member who so requests. Any Class Member wishing to "opt out"

        or be excluded must so request in writing, by letter postmarked or received in hand by the

        "opt out" or exclusion deadline. '

   C. Any Class Member wishing to pursue a claim must file a Proof of Claim Form by the claims

        submission deadline in order to participate in the distribution of Claimants' Fundls. Proof of

        Claim Forms must be postmarked or received in hand by the claims submission deadline.

VI. Class Member Objections

   A. Any Class Member who wishes to object to the terms of this Settlement Agreemlmt shall be

        required, not less than 30 days prior to the Fairness Hearing, to submit a written statement to

        the Court, with copies to counsel, setting forth his or her objections. The statement shall

        contain the Class member's name, address and telephone number, along with a written

        statement of his or her objection(s) to the settlement Agreement and the reason(s) for the

        objection(s). Class Counsel and defense counsel shall each file a response to such obje:ctions

        at least 15 days prior to the Fairness Hearing.


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                                                                         on behalf of plaintiffsJLm:
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VII.   Other General Provisions

       1. General Release: Plaintiffs shall fully release, forgive and discharge the District of

           Columbia, its officers, agents and employees for all claims arising from or that could

          have been asserted by plaintiffs andlor accepting class members as a result of the

          allegations in the complaint under any theory ofliability (including any request for

          attorney's fees and costs in prosecuting this case including any discovery disputes),

          including any such claims or lawsuits in any other proceeding or forum.

       2. In entering into this settlement, there is no admission of liability by the District

          defendants or admission of ~y factual contentions that have been asserted by plaintiffs in

          this litigation. The plaintiffs do not suggest or concede a lack of merit to their claims or to

          any factual contention that has been asserted by plaintiffs in this litigation.

       3. Indemnification for Attorney's Fee Disputes: Plaintiffs' Counsel represents that: Certain

          attorneys previously represented some of the individual plaintiffs in this matter prior to

          class certification in 2006. That representation ceased in 2002 (Docket Entry No. 61)

          (terminated for cause). Those prior counsel have made unspecified claims on the ::l.ward

          of fees in this case but have refused to provide any specific amount or claim despite

          current Plaintiffs' Counsel's request. Plaintiffs' Counsel do not believe any cmtitlement to

          fees exists by prior counsels.



          In the interests of facilitating the resolution of this Settlement Agreement, Plaintiffs'

          Counsel hereby agrees to defend against, and to satisfy and pay any consequential award

          of attorneys fees andlor costs for services, if any, under any claims against the Di!~trict of



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       Columbia defendants for fees or costs for services rendered to date in connection with

      this litigation by prior attorneys of record representing Plaintiffs.



      The Defendants agree not to settle or pay any claims for fees or costs, if any, from any

      prior counsel without the consent of Plaintiffs' Counsel. Should the Defendants agree to

      settle or to pay any claims for fees or costs from any prior Plaintiffs' counsel without the

      consent of current Plaintiffs' counsel, Defendants agree that they will not se;,k

      indemnification or contribution from Plaintiffs' Counselor Plaintiffs.



   4. No Third Party Beneficiary Rights: No third party who is not an Individuall'laintiff or

      Class Member shall have any rights under the Settlement Agreement.

   5. Non-Severability: The Parties do not intend this Agreement to be severable absent

      express written agreement by the Parties.

   6. Duty to Defend the Agreement: The Parties and their counsel agree to defend the

      Settlement Agreement. Counsel for Plaintiffs may not undertake the representation of

      individuals opting out of the settlement or persons who wish to object to the settlement

      whether on monetary or equitable relief. Counsel for the District of Columbia Defendants

      shall take no positions contrary to, or inconsistent with, the terms of the Settlement

      Agreement.

   7. Notice and Cure Provision: In the event of any alleged or actual systemic violation of the

      Settlement Agreement, the Plaintiffs through counsel shall provide written notice of such

      to the District of Columbia through counsel. The District of Columbia shall have 60 days




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      to remedy any systemic violation prior to plaintiffs seeking enforcement through a breach

      of contract claim.

   8. Enforcement: Except for the right of expungement and for monetary payments as set

      forth in the Settlement Agreement, the remedy for enforcement is by way of a breach of

      contract claim subject to the notice and cure provision. The District Court retains

      jurisdiction for a period of three years over the expungement and monetary payment

      provisions to ensure compliance with the expungement and monetary payment terms.

   9. Expirat~on of Agreement: This Settlement Agreement shall expire automatically within

      three years from the date of the last of the following events: Final District Court

      Approval; disposition of all appeals; denial of any appeal or petitions for wrilt of certiorari

      to the Supreme Court of the United States.

   10. Suspension of discovery: Upon signing of this agreement Plaintiffs (and Plaintiffs'

      Counsel) and the District of Columbia Defendants (and their counsel) shall jointly

      suspend all pending discovery against each other in Becker v. District of Columbii!.

   11. Joint Motion for Preliminary Approval: Within two weeks of the signing of this

      Settlement Agreement, the Parties will file a joint motion for preliminary approval of the

      Settlement Agreement.

   12. Class Eligibility and Qualification: It is the shared intent and objective that eligibility

      criteria and processes be effective to include all persons who fall within the dass

      definition and to exclude from qualification any persons who were not arrest,ed in

      connection with the April 15, 2000 mass arrest in the vicinity of 20th Street N.W., and K

      & I Streets, N.W.




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     The Class Representative on behalf of the Class and the District defendants acknowledge

     the possibility that persons genui:nely subject to the underlying arrest will not be properly

     identified or documented in law enforcement records; and consequently seek to provide

     sufficient guidance to enable the Class Administrator to qualify individuals, in the

     potential presence of inaccurate or incomplete records, where such individuals where in

     fact subject to the underlying arrest.



     The Class Administrator, in consultation with Class Counsel, shall develop processes for

     achieving these objectives, within and consistent with the following guidelim:s:

        a. The Class Administrator or its designee shall be the determinator of the class

            eligibility of Claimants, consistent with the class definition approved by the Court

            in the advance and settlement of this action.

        b. A Claimant shall be deemed eligible ifhis or her identity is reflected in a

            government or law enforcement or court record(s) as having been arrested in

            connection with the underlying class arrest.

            (i) A government or law enforcement record is any record created or issued or

                maintained by a law enforcement agency, a government agency or court.

            (ii) The record need not have been maintained in the exclusive custody of

                government, and can be constituted by a law enforcement or govemment or

                court receipt or record issued to the claimant in relation to the arrest or

                release.

            (iii)The record/fonn/item need not be strictly denominated as an "arrest record" in

                order to establish class qualification. For example, any of the following


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                                                                  on behalf of plaintiffsJl-!:.I/~v--...:.
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                records would be acceptable if they evidence identity and class membership:

                bus/van transport log; record of judicial release or processing; a property

                receipt or bag; citation release or post-and-forfeit form or record, etc.

            (iv) If circumstances arise where an individual is identified as being arrested on

                the relevant day, but records are ambiguous or contradictory as to the location

                or circumstances of arrest as being consistent with the qualifying mass arrest,

                the Class Administrator is to provide Class Counsel and Defense Counsel the

                identity and any o:ther pertinent information pertaining to the claimant and

                request in writing that counsels, upon independent review of their and law

                enforcement records, advise whether they possess any information related to

                the claimant's class membership.

         c. The Class Administrator may develop processes or standards to qualify persons

            who are believed or determined by the Class Administrator to have, in fact, been

            subject to the underlying mass arrest but whose arrest is not properly or

            completely documented in law enforcement records, subject to and within the

            following guidelines:

            (i) Where a Claimant attests to class membership, but the fact of his or her arrest

                is not documented in law enforcement records, the Class Administrator shall

                provide to Class Counsel and Defense Counsel the identity and any other

               pertinent information pertaining to the claimant and request in wrding that

                counsels, upon independent review of their and law enforcement records,

                advise whether they possess any information related to the claimant's class

               membership.

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            (ii) Class qualification may be established where such individual caIll provide to

                the Class Administrator's satisfaction that he or she was, in fact, subject to the

                underlying class arrest through presentation of information andlor evidence.

                Such information or evidence is not intended to be strictly limited to any

                particular form or format, and may for example include photographic

                evidence of the claimant under arrest, but must be deemed sufficiently reliable

                and relevant for the Class Administrator to make a determination, which shall

                rest in the Class Administrator or designee'~ sole judgment.

            (iii)In such circumstances, in addition to whatever other presentation he or she

                may make to the satisfaction of the Class Administrator, such Claimant shall

                be required to secure and submit sworn and notarized affidavits from two

                qualified Class Members attesting that each possesses personal knowledge,

                subject to penalty, ofpeIjury, that claimant was subject to the underlying mass

                arrest. For the purposes ofthis subsection, each of the two qualified Class

                Members shall be required to have been qualified based on their arrest being

                documented and manifest in law enforcement, government or court I'e4x>rds.

         d. The Class Administrator, working in conjunction with Class Counse1, may

            develop and implement additional criteria or standards for determining the

            eligibility of persons who were juveniles at the time of arrest.

         e. The Class Administrator shall be required to maintain Claimant information and

            records in strict confidentiality, to be used solely for the purposes of I:::lass

            administration.




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           £ The Class Representatives on behalf of the Class and the District defendants

               recognize that class identification data is reflected to certain partial extent in

               records from multiple sources, primarily in hard copy format, and that such data

               may need to be scanned, parsed, aggregated, de-duplicated, and organized in a

               meaningful manner or database to facilitate class member determina1ions. The

               Class Administrator is authorized to take whatever steps are necessary to

               undertake such efforts itself or through a third-party contractor. If a third-party

               information t~hnologies contractor or firm is utilized, that contractor or finn will

               be required to agree in writing to maintaining all information in confidence and to

               return/destroy such data upon task completion.

    13. Return of Documents: Plaintiffs shall return to the District of Columbia all d.ocuments

       and any copies thereof produced by the District of Columbia that are subject to a

       protective order, within 30 days of the termination of the case and the expira.tion of the

       period for any appeals or obj~ctions.

    14. Amendments: With the consent of the Parties, additional provisions may be added to the

       Settlement Agreement to assure appropriate implementation and court appmval.

    15. Multiple Originals Acceptable: The Parties agree that multiple originals ofthis

       Settlement Agreement may be executed. The Parties' or counsel's signaturea need not

       appear on the same signature page.

    16. Non-District of Columbia Defendant Claims: This Settlement Agreement does not

       encompass nor encumber Plaintiffs' advance of claims against non-District of Columbia

       Defendants.




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      Signed and Agreed to by:


      DATE:    IltJo                   ~c.~~
                                       Peteriicldes
                                       Attorney General for the District of Columbia
                                       1350 Pennsylvania Ave. N.W.


                                       W~hlC::Z7~
      DATE:~O                          Carl Messineo (#450033)
                                       PAR1NERSHIP FOR CIVIL JUSTICE FUND
                                       617 Florida Ave. N.W.
                                       Washington, D.C. 20001
                                       (202) 232-1180
                                       Counsel for Plainti!ft




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                                      initials, on behalf of District Defendants ~
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